                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

IN RE ALESIA WALLACE,
                                                                    Bankruptcy Case Number
       Debtor,                                                         20-80018-CRJ-13

ALESIA WALLACE,

       Plaintiff,
                                                                    Adversary Proceeding No.
v.                                                                    20-80055-CRJ

JORA CREDIT HOLDINGS, LLC

       Defendant.

                        APPLICATION FOR ENTRY OF DEFAULT
       COMES NOW the Plaintiff, Alesia Wallace, by and through her attorney of record, and
requests this Clerk of Court to enter a default judgment against the Defendant, Jora Credit
Holdings, LLC, on the basis that the record in this case demonstrated that there has been a failure
to plead or otherwise defend as provided by Rule 7055(b)(2) of the Federal Rules of Bankruptcy
Procedure.




                                                     /s/ John C. Larsen_________________
                                                     John C. Larsen
                                                     Attorney for the debtor/plaintiff,
                                                     Alesia Wallace
OF COUNSEL:
LARSEN LAW, P.C.
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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing has been served upon the parties
listed below electronically, or by depositing copies in the United States Mail, properly addressed
and postage prepaid, on this the 13th day of August, 2020.

Jora Credit Holdings, LLC
7701 Las Colinas Rdg., Ste. 650
Irving, TX 75063

Jora Credit Holdings, LLC
Registered Agent: Corporation Service Company
211 E. 7th Street, Suite 620
Austin, TX 78701

Jora Credit Holdings, LLC
Registered Agent: Corporation Service Company Inc
641 South Lawrence Street
Montgomery, AL 36104

Jora Credit Holdings, LLC
Registered Agent: Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

                                                    /s/ John C. Larsen




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